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                            UNITED STATES DISTRICT COURT
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                          SOUTHERN DISTRICT OF CALIFORNIA
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     TIFFANY DEHEN, an individual on behalf              CASE NO. 17cv198-LAB (WVG)
11
     of herself,
12                                                       ORDER SUSPENDING BRIEFING ON
                                          Plaintiff,
                                                         MOTION TO FILE THIRD AMENDED
13                        vs.                            COMPLAINT
14   JOHN DOES 1-100, TWITTER, INC., and
     UNIVERSITY OF SAN DIEGO,
15
                                      Defendants.
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17          By discrepancy order, the Court accepted Plaintiff Tiffany Dehen’s motion for leave
18   to file a third amended complaint. Several other motions, including a motion to dismiss the
19   second amended complaint, are now pending. Briefing on this new motion for leave to
20   amend is SUSPENDED, and Defendants should not respond until directed to do so by the
21   Court. After other motions are decided, the Court will, if appropriate, set a briefing schedule.
22          Dehen must not make ex parte calls to chambers to inquire when the Court will rule
23   on motions or take other action. See Civil Local Rule 83.9 and Standing Order, & 14. She
24   should instead check the docket, where the information is available publicly.
25          IT IS SO ORDERED.
26   Dated: August 27, 2018
27                                                     HONORABLE LARRY ALAN BURNS
                                                       United States District Judge
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